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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

vs.                                              CASE NO. 4:04-CR-018-SPM

JONATHAN WILLIAMS,

           Defendant.
_____________________________/


        ORDER DENYING MOTION TO REDUCE UNDER 18 U.S.C. § 3582

        This cause comes before the Court on Defendant’s request for a sentence

reduction under the retroactive crack cocaine amendment (Amendments 706 and

711) and 18 U.S.C. § 3582(c) (doc. 101). The Government has filed a response

in opposition (doc. 103).

        Upon review, the Court finds that Defendant is not entitled to a sentence

reduction because application of the guideline amendment results in no change

to his sentencing range. Defendant’s offense involved at least 7.5 kilograms of

cocaine base, which corresponds to a base offense level of 38 under the both old

drug quantity table and the amended drug quantity table. Therefore, based on

Defendant’s drug weight calculations, the guideline range was not reduced by the

amended guideline range and he is not eligible for a sentencing reduction.

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      Accordingly, it is hereby ORDERED AND ADJUDGED that the request for

a sentence reduction (doc. 101) is hereby denied.

      DONE AND ORDERED this first day of May, 2008.




                                   s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge




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